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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 The State of Texas, et al.,

                           Plaintiffs,               Case No. 4:20-cv-00957-SDJ

 v.                                                  Hon. Sean D. Jordan

 Google LLC,
                                                     Special Master: David T. Moran
                           Defendants.


                       UNOPPOSED MOTION TO FILE UNDER SEAL
                            UNDER LOCAL RULE CV-5(a)(7)

       Plaintiff States (“States”) respectfully move the Court for leave to file under seal

PLAINTIFF STATES’ MOTION TO EXCLUDE OPINIONS OF ITAMAR SIMONSON and the

exhibits thereto, to be filed later today. Defendant Google LLC (“Google”) does not oppose the

States’ sealing request.

       The States, upon Google’s request and with Google’s consent, request to file under seal

their brief and exhibits because their brief and exhibits reference, contain, or are materials that

Google has designated confidential or highly confidential. Google intends to propose and the

parties intend to submit redacted copies of these documents in compliance with Local Rule CV-

5(a)(7).

       For the reasons stated above, the States respectfully request that this Court allow the States

to file the above-referenced documents under seal under Local Rule CV-5(a)(7).




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Respectfully submitted,

 DATED: November 18, 2024                         Respectfully submitted,

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Submitted on behalf of all Plaintiff States




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                            CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) and that Google LLC does not oppose the foregoing sealing request.

                                                   /s/ Noah S. Heinz
                                                   Noah S. Heinz




                               CERTIFICATE OF SERVICE

       I certify that on November 18, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                   /s/ Noah S. Heinz
                                                   Noah S. Heinz




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